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              IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE DISTRICT OF DELAWARE
______________________________
                               )
In re:                         ) Chapter 11
                               )
WILLIAMS INDUSTRIAL SERVICES ) Case No. 23-10961-BLS
GROUP INC., et al.,            )
                               ) (Jointly Administered)
          Debtors.             )
______________________________) Relate to Dkt. No. 203

  OBJECTION OF THE CONSOLIDATED EDISON COMPANY OF NEW YORK, INC.
    TO NOTICE TO CONTRACT COUNTERPARTIES TO POTENTIALLY ASSUMED
              EXECUTORY CONTRACTS AND UNEXPIRED LEASES

        Consolidated Edison Company of New York, Inc. (“Con Edison”),

by counsel, hereby asserts its objection (the “Objection”) to the

Debtors’ Notice to Contract Counterparties to Potentially Assumed

Executory Contracts and Unexpired Leases [Docket No. 203] (the

“Assumption and Cure Notice”), and sets forth the following:

                                  FACTUAL BACKGROUND

                                      Procedural Facts

        1.         On July 22, 2023, each of the Debtors filed a petition

for relief under Chapter 11 of Title 11 of the United States Code

(the “Bankruptcy Code”) commencing these chapter 11 cases (the

“Bankruptcy Cases”).              The Bankruptcy Cases are being jointly

administered.

        2.         The Debtors are operating their business as debtors-in-

possession, and no trustee or examiner has been appointed.



        3.         On   the   Petition    Date,     the    Debtors     filed      Debtors’
                                             1

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Emergency          Motion   for   Entry   of    Interim    and    Final   Orders   (I)

Authorizing, But Not Directing, Payment of Prepetition Claims of

Critical Vendors Pursuant to 11 U.S.C. §§ 363(B), 1107 and 1108,

Fed. R. Bankr. P. 6003 and 6004, and Del. Bankr. L.R. 9013-1(M)

and (II) Granting Related Relief [Docket No. 12] (the “Critical

Vendor Motion”).

        4.         On July 25, 2023 and August 16, 2023, the Bankruptcy

Court       entered      orders   [Docket   Nos.    64    and    165,   respectively]

(together, the “Critical Vendor Order”) granting the Critical

Vendor Motion on an interim and final basis, respectively.                         The

Critical Vendor Order authorizes, but does not direct, the Debtors

to pay prepetition claims of certain vendors that the Debtors deem

“Critical Vendors”.

                  Facts Regarding the Sale Motion and Cure Notice

        5.         On July 24, 2023, the Debtors filed their Motion for

Entry of an Order (I) Approving Bidding Procedures for the Sale of

Assets, (II) Scheduling Hearings and Objection Deadlines with

Respect to the Debtors’ Authority To Sell, (III) Scheduling Bid

Deadlines and an Auction, (IV) Approving the Form and Manner of

Notice Thereof, (V) Approving Contract Assumption and Assignment

Procedures, and (VI) Granting Related Relief [Docket No. 33] (the

“Sale Motion”), which sought entry of a bidding procedures order

setting the following deadlines:



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                   A.   Bid Deadline – August 3, 2023

                   B.   Auction – September 2, 2023

                   C.   Sale Objection Deadline – September 3, 2023 (i.e.,

        the Sunday of Labor Day weekend)

                   D.   Sale Hearing – September 5, 2023 (i.e., the day

        after Labor Day)

                   E.   Assumption and Cure Notice to be filed – 3 business

        days after entry of bidding procedures order

                   F.   Assumption and Cure Objection Deadline – 14 days

        after service of Assumption and Cure Notice (extending over

        Labor Day weekend)

        6.         On August 14, 2023, the U.S. Trustee filed its Objection

to the Sale Motion [Docket No. 149] (the “U.S. Trustee Objection”),

expressly objecting to the timeline proposed in the Sale Motion,

as follows:

                   The proposed timeline is aggressively short
                   and does not provide sufficient notice to the
                   Debtors’ creditors or to potential bidders not
                   already involved with the process.         The
                   Debtors propose only 19 days between the
                   hearing on Bid Procedures and the Sale
                   hearing, inclusive of the Labor Day holiday
                   weekend. The Motion provides that notice be
                   served “no later than 3 business days after
                   entry of the Bidding Procedures Order.” With
                   the Bidding Procedures hearing scheduled on
                   August 17, 2023, that means that notice will
                   go out no later than Tuesday, August 22, 2023,
                   potentially leaving only 9 days for parties
                   to: receive notice by regular mail, perform
                   due diligence, and decide whether to submit a
                   bid, and only 12 days until the Sale Objection
                                            3

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                   deadline (on the Sunday before Labor Day).
                   U.S. Trustee Objection at ¶ 5; see also id. at
                   ¶¶ 30-32 (noting the “extremely tight” 19 days
                   between bid procedures hearing and proposed
                   sale hearing, 12 days between service of bid
                   procedures and sale hearing, and 9 days until
                   bid deadline, all extending over the Labor Day
                   weekend, which “does not provide for adequate
                   notice to Debtors’ creditors and other parties
                   in interest of the sale objection deadline” or
                   provide sufficient     notice  for potential
                   bidders “to qualify as potential bidders,
                   perform due diligence, line up financing, and
                   to formulate and submit a bid”).

        7.         On August 19, 2023, the Bankruptcy Court entered an Order

(I) Approving Bidding Procedures for the Sale of Debtors’ Assets,

(II) Scheduling Hearings and Objection Deadlines With Respect to

the Sale, (III) Scheduling Bid Deadlines and an Auction, (IV)

Approving the Form and Manner of Notice Thereof, (V) Approving

Assumption and Assignment Procedures for Executory Contracts and

Unexpired Leases, (VI) Authorizing and Approving the Debtors’

Entry into the Stalking Horse APA, (VII) Authorizing and Approving

Bid Protections, and (VIII) Granting Related Relief [Docket No.

196] (the “Bidding Procedures Order”), authorizing the debtors to

conduct an auction and sale of the Debtors’ assets.                       Despite the

U.S. Trustee’s Objection, the approved Bidding Procedures Order

extended the sale timeline by only 2 days – specifically, moving

the Sale Objection deadline from September 3, 2023 to September 5,

2023 (the day after Labor Day) and moving the Sale Hearing to

September 7, 2023.

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        8.         On August 22, 2023, the Debtors filed and served the

Assumption and Cure Notice.               Exhibit A to the Cure Notice lists

the following contracts with Con Edison as executory contracts

potentially to be assumed and/or assigned to a purchaser of the

Debtors’ assets, each with purported Cure Costs of $0:

                   A.     “Bronx River 36” Gas Main” [Presumably this is the

Bronx River Contract defined in paragraph 15.A. below]

                   B.     “Hudson Elevator” [Presumably the Hudson Elevator

Contract defined in paragraph 15.B. below]

                   C.     “Con Ed Maintenance” [Presumably the Generating

Stations Contract and Generating Stations Purchase Order defined

in paragraphs 10.B. and 14 below]

                   D.     “Con Ed Tunnel Maintenance” [Presumably the Tunnel

Maintenance Contract defined in paragraph 10 below]

        9.         In accordance with the Bidding Procedures Order, the

deadline for filing an objection to the Cure Notice is September

5, 2023.

        10.        On August 30, 2023, the Debtors filed their Notice of

Auction Cancellation and Designation of Successful Bidder [Docket

No.       231]          (the   “Successful       Bidder    Notice”),       designating

EnergySolutions Nuclear Services, LLC (“EnergySolutions”), the

Stalking Horse Bidder, as the Successful Bidder.

        Facts Concerning Con Edison’s Contracts with the Debtors

        11.        Con Edison and the Debtors are parties to certain Blanket
                                             5

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Purchase          Agreements    (collectively, the            “BPAs”),     including the

following active BPAs, under which Con Edison has issued various

purchase orders for construction services:

                   A.   Blanket Purchase Agreement No. 5422392, related to

          tunnel maintenance and repair, the term of which commenced

          March 1, 2020 and expired August 31, 2023 (the “Tunnel

          Maintenance Contract”);

                   B.   Blanket Purchase Agreement No. 5921728, related to

          civil repairs for various generating stations, substations

          and facilities locations throughout the Con Edison & Orange

          and Rockland Utilities, Inc. service territory, the term of

          which commenced May 20, 2023 and expires May 31, 2026 (the

          “Generating Stations Contract”).

        12.        The Tunnel Maintenance Contract is not an executory

contract          that can     be assumed       and/or      assigned     by   the    Debtors

pursuant to the proposed sale, as it has expired by its terms prior

to the sale hearing and closing.

        13.        The Agreed Contract Amount for the Tunnel Maintenance

Contract           is   $17,180,000,       of       which    Con     Edison       has   paid

$15,529,552.88           in    milestone    payments        to   date.        A     total   of

$1,144,554.97 in milestone invoices issued by the Debtors to Con

Edison for work performed under the Tunnel Maintenance Contract

have not been paid (the “Unpaid Tunnel Maintenance Invoices”).

        14.        As of August 1, 2023, the Debtors ceased all work under
                                                6

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the Tunnel Maintenance Contract and all of the Debtors’ employees

who had been performing work under that contract subsequently left

the Debtors’ employment for another company.                       Accordingly, other

than the Unpaid Tunnel Maintenance Invoices (which are subject to

offsets for Unpaid Vendor Charges, as defined below) there are no

further amounts owed by Con Edison to the Debtors under the Tunnel

Maintenance Contract. Con Ed has confirmed it has not incurred any

damages based on the Debtors’ failure to complete the Tunnel

Maintenance Contract.

        15.        As of August 25, 2023, the Debtors had completed all

required work under the only purchase order that was outstanding

under the Generating Stations Contract as of the Petition Date,

i.e.,       Purchase       Order    No.   5950728      (the    “Generating        Stations

Purchase Order”) and had fully demobilized from the site.                              The

Debtors have not yet invoiced Con Edison for any amounts under the

Generating Stations Purchase Order.

        16.        Con Edison and the Debtors are also parties to various

purchase          orders   for     construction       projects     (i.e.,   not    issued

pursuant to any BPA) performed or to be performed by the Debtors

(collectively, with purchase orders issued under the BPAs, the

“Purchase Orders”), including the following:

                   A.   Purchase      Order     No.    5634925,     relating      to   the

        Debtors’ installation of a 36-inch gas main and related work

        on the Bronx River (the “Bronx River Contract”) – the Debtors
                                              7

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        have indicated that they currently have the funding and

        staffing in place to continue the work on this project until

        a sale of the Debtors’ assets is consummated;

                   B.   Purchase Order No. 5426662, relating to replacement

        of an elevator in the Brooklyn Shaft of the Hudson Avenue

        Tunnel (the “Hudson Elevator Contract”) – this is a time

        sensitive project, and to date there have not been any delays;

                   C.   Purchase Order No. 5654662, relating to removal and

        replacement of two tunnel vent fans on the Hudson River (the

        “Hudson River Fan Contract”) – this project has essentially

        been completed and Con Edison is holding the 6% retainage;

                   D.   Purchase Order No. 5786409, relating to the removal

        of 26-inch gas main within the Astoria Tunnel in Queens, NY

        and related work (the “Astoria Tunnel Contract”) – this

        project has essentially been completed, except for punch list

        items, and Con Edison is holding the retainage.

        17.        As of September 1, 2023, a total of $1,257,387.631 in

invoices (collectively, the “Unpaid Invoices”) (which includes the

Unpaid Tunnel Maintenance Invoices) had been issued by the Debtors

to Con Edison for construction services performed pursuant to the

BPAs and/or the Purchase Orders prior to the Petition Date, which

invoices have not yet been paid, as Con Edison is in the process



1
 Debtors’ counsel has produced a $319,500 invoice that is not included in this
total.
                                            8

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of determining the extent of its setoff rights.

        18.        Certain subcontractors and vendors of the Debtors that

performed work on Con Edison projects covered by the BPAs and/or

the Purchase Orders prior to the Petition Date have contacted Con

Edison concerning the Debtors’ non-payment of invoices issued to

the Debtors in connection with those projects, including the

following:

                   A.     CMF Inc. - $72,158.60 as of 8/11/23

                   B.     RWT Corp. (dba Welding Works) - $99,967.25 as of

                          7/25/23

        19.        On August 11, 2023, Debtors’ counsel sent Con Edison’s

counsel an              excel   chart and represented       that it      included all

prepetition unpaid balances that had been invoiced by the Debtors’

subcontractors and vendors in connection with Con Edison projects

covered by the BPAs and/or Purchase Orders (the “Unpaid Vendor

Charges”) as of that date, which prepetition Unpaid Vendor Charges

totaled $917,270.68.                Notably, the Unpaid Vendor Charges for CMF

and Welding Works are less on the Debtors’ list than the amounts

those vendors had previously notified Con Edison were owing to

them for Con Edison projects.

        20.        The Debtors subsequently represented that as of August

18, 2023, a total of $318,375.64 of the Unpaid Vendor Charges had

been paid by the Debtors pursuant to the authority granted in the

Critical Vendor Order. On August 25, 2023, Debtors’ counsel claims
                                             9

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that the total of Unpaid Vendor Charges paid by the Debtors under

the Critical Vendor Order increased to $377,972.47.                            Con Edison

has asked Debtors’ counsel to provide evidence of the foregoing

payments and lien waivers, and lien waivers have been provided

with respect to some, but not all of the Unpaid Vendor Charges.

        21.        Con Edison is in the process of (a) confirming the

Debtors’ representations set forth in paragraphs 19 and 20 above

concerning Unpaid Vendor Charges and payments purportedly made

thereon, and (b) determining whether there are additional Unpaid

Vendor Charges for prepetition or post-petition work that has been

completed under Con Edison’s contracts with the Debtors, all of

which past due Unpaid Vendor Charges are defaults that must be

cured in connection with the Debtors’ assumption of the applicable

contracts.

        22.        Each of the BPAs and Purchase Orders provides for setoff

rights as follows:

                   Con Edison shall have the right to set off
                   against any sums due Contractor under the
                   Contract or any other contract between Con
                   Edison and the Contractor or otherwise, any
                   claims Con Edison may have against Contractor
                   under the Contract or any other contract
                   between   Con   Edison  and   Contractor   or
                   otherwise, without prejudice to the rights of
                   the parties in respect of such claims.
                   (Emphasis added.)

See Article 46 of Standard Terms and Conditions to Construction

Contracts           incorporated      into   Bronx     River    Contract,      Generating

                                              10

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Stations Contract, Hudson Elevator Contract, and Astoria Tunnel

Contract; see also Article 27 of Standard Terms and Conditions for

Service Contracts incorporated into Tunnel Maintenance Contract

and Hudson Fans Contract. Copies of the contracts will be provided

upon request.

  Facts Concerning Qualifying Con Edison Contractors and Vendors

        23.        As a regulated utility, Con Edison’s regulator mandates

that Con Edison have a rigorous qualification process for all

contractors and vendors to protect the ratepayer money used to pay

these       contractors          and   vendors.         As       such,   Con    Edison    has    an

established process for qualifying prospective contractors and

other       vendors         to   perform    work       on    Con     Edison     projects       (the

“Qualification Process”), which all of its prospective contractors

and vendors must complete.                 The Qualification Process ensures that

the contractors/vendors that Con Edison conducts business with

meet applicable technical, safety, third party risk, financial and

insurance requirements, and have all applicable licensing and

permits required to perform the work contemplated by the applicable

contracts, including but not limited to the following:

                   A.    Submission        and    approval         of    corporate       and    job

        specific/site            specific    Health         and    Safety      Plans   (each,     a

        “HASP”)         -    A    separate       HASP       is     required     of     each     new

        contractor/vendor, and a new contractor/vendor cannot simply

        step into the shoes of a HASP submitted by a prior entity;
                                                 11

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                   B.    Submission    and   approval of           a    job specific/cite

        specific Drug & Alcohol Plan;

                   C.    Gold Shovel Standard Certification;

                   D.    Northeast Gas Association Operator Qualification;

                   E.    Demonstration          and      confirmation              of    the

        contractor/vendor’s willingness and ability to utilize union

        labor where required by the applicable contract;

                   F.    Demonstration of financial wherewithal to complete

        the applicable projects; and

                   G.    Demonstration of ability and willingness to meet

        third-party risk management standards.

        24.        The   Qualification       Process      requires          a    prospective

contractor/vendor to apply through a link that Con Edison provides,

answer various questions, provide requested documentation, and

undergo a site visit. Documents and information that a prospective

contractor/vendor must provide include:

       Audited Financial Statements from Last 3 Years
       Accountant Certification
       Disclosures
       Information Security Practices and Posture
       Safety Performance and Procedures
       Business, Ethics & Compliance Policies
       Human Rights & Uyghur Forced Labor Prevention Act Policies
       Financial Crime and Compliance Controls and Assessments
       Policy/Procedure Demonstrating OFAC Sanctions Compliance
       Physical Security Policies/Procedures/Standards
       Employee Background Check Policy/Procedure
       Business Continuity/Disaster Recovery Policies and Plans
       Supplier Risk Management Policy/Framework
       Environmental, Social and Governance (ESG) and/or
        Sustainability Policy and Certifications
                                             12

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         Licensure or Certification for Relevant Scope of Work
         Insurance (Collected by the Buyer)

          25.      The Qualification Process can take up to four months to

complete             depending       upon     how      quickly        the     prospective

contractor/vendor provides the required information and documents,

and a prospective contractor cannot begin any work for Con Edison

until such process, including Con Edison’s internal review of

materials provided, has been completed and the contractor has been

approved by meeting all required qualifications.

          26.      EnergySolutions, the Successful Bidder, is not currently

on       Con      Edison’s    list    of    approved      contractors/vendors.        As

EnergySolutions is a private company, Con Edison has been unable

to       locate       any    specifics      online      concerning      its    financial,

insurance, technical and/or safety qualifications to perform under

the Debtors’ contracts to be assigned.                        Moreover, the ultimate

entity(ies) that the assigned contracts, permits and other assets

will be put into by EnergySolutions may impact the qualification

process and how long that process may take.

          27.      On August 31, 2023, EnergySolutions filed a Declaration

of Steven E. Birchfield in Support of the Debtors’ Sale Motion and

EnergySolutions             Nuclear Services,         LLC’s    Adequate     Assurance of

Future Performance [Docket No. 243] (the “Declaration”).                             The

Declaration is a four-page declaration made by the chief financial

officer of EnergySolutions, in which the only information provided

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concerning its ability to perform under the Debtors’ contracts to

be assumed and assigned to EnergySolutions pursuant to the sale is

as follows:

                   7. On August 22, 2023, the Debtors filed the Notice to Contract
                      Parties to Potentially Assumed Executory Contracts and
                      Unexpired Leases [Docket No. 203] (the “Cure Cost Schedule”),
                      which included a schedule of proposed Cure Costs that would be
                      owed to non-debtor counterparties to the Assumed Contracts if a
                      potential executory contract or unexpired lease became an
                      Assumed Contract.

                   8. Buyer, through its parent company, EnergySolutions, LLC, has
                      sufficient resources available to it to (i) pay the Cure Costs set
                      forth in the Cure Cost Schedule (in the event an executory
                      contract or unexpired lease becomes an Assumed Contract) and
                      (ii) meet its post-Closing obligations under any Assumed
                      Contracts as they become due. On a consolidated basis with its
                      parent company, EnergySolutions, LLC, Buyer has a trailing
                      twelve month revenue as of June 30, 2023 (last completed
                      quarter) in excess of $550 million with a current liquidity amount
                      in excess of $90 million as of August 24, 2023.

                   9. Buyer’s parent company, EnergySolutions, LLC, is an established
                      international nuclear services company with more than 15 years
                      of experience in managing operations similar to those of the
                      Debtors with operations in over 40 states and throughout Canada
                      and Japan.

                   10. Based upon the foregoing, I believe the Buyer has sufficient
                      existing and expected capital to pay Cure Costs in respect of the
                      Assumed Contracts and continue operating the Transferred
                      Assets for the foreseeable future. Accordingly I believe that there
                      has been sufficient showing by Buyer of adequate assurance of
                      future performance.


Declaration at pp. 2-3.

        28.        As an initial matter, EnergySolutions’ representation

that it has sufficient resources to pay the $0 Cure Costs listed

by the Debtors in their Assumption and Cure Notice is irrelevant,

                                                    14

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as the actual cure costs (as set forth above) far exceed the

$300,000 Cure Cap payable by Buyer in the applicable asset purchase

agreement.

        29.        Further, no financial or other actual business documents

were attached to or provided with the Declaration, and to date Con

Edison has not received any such documents evidencing or concerning

EnergySolutions’ financial or technical ability to perform under

the applicable Assignable Contracts (defined below) in accordance

with Con Edison’s required standards for all of its approved

contractors and vendors.

                                        DISCUSSION

        30.        Section 365(b)(1) of the Bankruptcy Code provides as

follows:

                   If there has been a default in an executory
                   contract or unexpired lease of the debtor, the
                   trustee may not assume such contract or lease
                   unless, at the time of assumption of such
                   contract or lease, the trustee—

                   (A) cures, or provides adequate assurance that
                       the trustee will promptly cure, such
                       default.
                   (B)   compensates,    or   provides   adequate
                       assurance that the trustee will promptly
                       compensate, a party other than the debtor
                       to such contract or lease, for any actual
                       pecuniary loss to such party resulting
                       from such default; and
                   (C) provides adequate assurance of future
                       performance under such contract or lease.

        31.        The Tunnel Maintenance Contract cannot be assumed and/or

assigned by the Debtors, as it expired by its terms on August 31,
                                            15

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2023, which is prior to the proposed sale hearing and closing.

Con Edison has entered into a contract with another contractor,

commencing September 1, 2023, to perform the work previously

performed by the Debtors under the Tunnel Maintenance Contract

going forward.

        32.        Con   Edison   does    not    oppose       the     Debtors’     assumption

and/or assignment of the Bronx River Contract, the Hudson Elevator

Contract, or the Generating Stations Contract (which Con Edison

presumes           is    the   contract    the       Debtors     describe     as      “Con   Ed

Maintenance”) (collectively, the “Assignable Contracts”), provided

the Debtors do not seek to assume only portions of any of those

agreements while rejecting other portions thereof in a piecemeal

fashion and provided that the applicable assignee of the Assignable

Contracts            first     demonstrates      adequate        assurance       of     future

performance.             It is well established that a contract cannot be

assumed in part or rejected in part.                     Rather, a debtor is required

under Section 365 of the Bankruptcy Code to either reject the

contract in full or assume the contract in full, which includes

the benefits and burdens.                AGV Productions, Inc. v. Metro-Goldwyn-

Mayer, Inc., 115 F.Supp.2d. 378, 391 (S.D.N.Y. 2000) (debtor cannot

assume executory contract in part and reject it in part); see also

In re Leslie Fay Cos., Inc., 166 B.R. 802, 808 (S.D.N.Y. 1994)

(same); In re Atlantic Computer Sys., Inc., 173 B.R. 844, 849

(S.D.N.Y. 1994) (same); see also In re Plum Run Serv. Corp., 159
                                                16

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B.R. 496, 498 (Bankr. S.D. Ohio 1993) (noting that executory

contract must be assumed or rejected by debtor in its entirety and

cannot be dealt with in piecemeal fashion); In re Plitt Amusement

Co. of Washington, Inc., 233 B.R. 837, 840 (Bankr. C.D. Cal. 1999)

(holding that trustee must assume or reject executory contract as

whole, and cannot retain beneficial aspects of such contract while

rejecting its burdens).

        33.        However, Con Edison does object to the sale of the

Assignable Contracts under the current schedule set forth in the

Bidding Procedures              Order.    Con Edison        cannot    be   expected to

evaluate EnergySolutions’ ability to provide adequate assurance of

future            performance      thereunder,        particularly         here   where

EnergySolutions has failed to provide any actual business or other

documents evidencing its financial and/or technical ability to

provide the services required by the Assignable Contracts or to

provide such services in accordance with the standards Con Edison

requires of all of its contractors and vendors.                      Accordingly, the

Debtors have not and cannot meet their burden with respect to

adequate assurance of performance under the current sale schedule.

        34.        If the Debtors want to assume and/or assign any of the

Assignable Contracts:

                   A.    They must first cure those contracts by paying all

        outstanding         prepetition     and     post-petition       Unpaid    Vendor

        Charges incurred in connection with those contracts plus any
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        additional         post-petition    charges      incurred     by   the    Debtors

        under the applicable contracts through the effective date of

        assumption; and

                   B.    In addition, the Debtors must first demonstrate

        EnergySolutions’ adequate assurance of future performance

        under the Assignable Contracts by complying with Con Edison’s

        Qualification         Process    and     actually     being    approved     as   a

        contractor/vendor in accordance with that process.

        35.        Further, in strict accordance with the setoff provisions

of the Assignable Contracts, Con Edison hereby reserves its rights

to setoff against any amounts owing or to become owing under the

Assignable Contracts all defaults of the Debtors and damages

incurred by Con Edison under its Debtor contracts not being assumed

and/or assigned by the Debtors, including but not limited to its

rights to offset Unpaid Vendor Charges relating to the Tunnel

Maintenance Contract.

        WHEREFORE, Con Edison respectfully requests that the Court

enter an Order:

        A.         Prohibiting   the    Debtors’      proposed     assumption      and/or

assignment of the Tunnel Maintenance Contract;

        B.         Requiring, as a condition to the Debtors’ assumption

and/or assignment of any of the Assignable Contracts that the

Debtors and/or EnergySolutions: (1) pay all unpaid prepetition and

post-petition amounts accrued thereunder through the effective
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date of assumption, including but not limited to all Unpaid Vendor

Charges           incurred    under   those     contracts,       in     an   amount     to   be

determined,            and    (2)     demonstrate          EnergySolutions’           adequate

assurance of future performance under the Assignable Contracts by

qualification            of   EnergySolutions         as    an   approved      Con     Edison

contractor/vendor through the Qualification Process; and

        C.         Granting such other and further relief as the Court deems

just and proper.


Dated: September 1, 2023

                                      McCARTER & ENGLISH, LLP

                                      By: /s/ William F. Taylor, Jr._____
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